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Form NOA

                        UNITED STATES BANKRUPTCY COURT
                              Western District of Arkansas
            NOTICE OF ASSETS AND DEADLINE TO FILE PROOF OF CLAIM

Debtor(s):
Marilyn Louise Erickson
769 Airport 980
Flippin, AR 72634
Case Number:                                                Social Security/Taxpayer ID Nos.:
3:19−bk−70508                                               xxx−xx−0924
Chapter:                                                    Judge:
7                                                           Honorable Ben T Barry
Attorney for Debtor(s):                                     Trustee:
Paul Allen Bayless                                          Bianca Rucker
COOPER & BAYLESS, P.A.                                      Chapter 7 Panel Trustee
222 W. 6th Street                                           1 East Center Street
Mountain Home, AR 72653                                     Suite 215
Telephone number: 870−425−6400                              Fayetteville, AR 72701
                                                            Telephone number: 479−445−6340

It appears from the schedules that when this case was instituted, there were no assets from which dividends could be
paid to creditors, and the notice of initial meeting of creditors so indicated.

It now appears that the payment of a dividend may be possible. Pursuant to Bankruptcy Rule 3002(c)(5), the last day
for filing claims is fixed as:

                                                       10/22/19


Except as otherwise provided by law, in order to share in any payment from the estate, a creditor must file a proof of
claim by the date set forth above. A proof of claim may be filed on−line, by mail, or in person at the Bankruptcy
Court Clerk's office. To file on−line, simply go to the Court's website at http://www.arb.uscourts.gov and click Proof
of Claim Filings under Creditor Links. If you wish to file in person or by mail, you must obtain an official proof of
claim form (Form B410) from http://www.uscourts.gov or from any bankruptcy clerk's office.

IF NOT FILING ON−LINE, MAIL CLAIMS TO: U.S. Bankruptcy Court, 35 E. Mountain St., Ste. 316, Fayetteville,
AR 72701
IF A CLAIM WAS PREVIOUSLY SUBMITTED, IT IS NOT NECESSARY TO FILE ANOTHER ONE.

Dated: 7/22/19                                            For the Court:
                                                          Jean Rolfs, Clerk
